Case 1:22-cv-00704-HYJ-RSK   ECF No. 18-1, PageID.664   Filed 07/25/23   Page 1 of
                                      13




                        Exhibit 1
Case 1:22-cv-00704-HYJ-RSK      ECF No. 18-1, PageID.665          Filed 07/25/23   Page 2 of
                                         13



                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 MATTHEW KOTILA, individually and on              Case No. 1:22-cv-00704
 behalf of all others similarly situated,
                                                  Hon. Hala Y. Jarbou
        Plaintiff,
 v.

 CHARTER FINANCIAL PUBLISHING
 NETWORK, INC.,                                   CLASS ACTION

         Defendant.

      CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER

       This Confidentiality Agreement and Stipulated Protective Order (“Order”)

 is entered into between Plaintiff Mark Gottsleben through his counsel, and

 Defendant Informa Media, Inc. f/k/a Penton Media, Inc. (“Defendant”) through

 its counsel (each a “Party,” and collectively, the “Parties”);

       WHEREAS, in the course of this litigation, the Parties have sought or may

 seek certain discovery from one another or from certain third parties (each, a

 “Non-Party”), as provided by the Federal Rules of Civil Procedure, the Local

 Rules of this Court, and this Court’s January 18, 2023 Case Management Order

 (“Discovery Requests”); and to expedite the exchange of discovery materials, to

 facilitate the prompt resolution of disputes over confidentiality, and to protect
Case 1:22-cv-00704-HYJ-RSK        ECF No. 18-1, PageID.666      Filed 07/25/23    Page 3 of
                                           13



 discovery material entitled to be kept confidential, the Parties stipulate and agree

 as follows:

       1.      This Order applies to all information, documents and things

 exchanged in or subject to discovery in this litigation either by a Party or a Non-

 Party (each a “Producing Person”) in response to or in connection with any

 request for information or discovery related to the litigation, including without

 limitation, deposition testimony (whether based upon oral examination or written

 questions), interrogatories, answers to interrogatories, requests for admission,

 responses to requests for admission, documents and things produced (including

 documents and things produced to the receiving Party for inspection and

 documents and things provided to the receiving Party, whether in the form of

 originals or copies) as well as any and all copies, abstracts, digests, notes,

 summaries, studies, reports, illustrations, and excerpts thereof (collectively

 referred to as “Discovery Material”). The Party seeking documents from a Non-

 Party shall provide a copy of this Order to the Non-Party with a subpoena or any

 other request for information.

       2.      The Parties agree that the Parties shall submit this Order to the Court,

 without alteration, to serve as a Stipulated Protective Order for governing

 information exchanges and discovery. The Parties expressly agree to abide by the

 terms of this agreement even if this Order is not entered by the Court for any
Case 1:22-cv-00704-HYJ-RSK       ECF No. 18-1, PageID.667        Filed 07/25/23    Page 4 of
                                          13



 reason, unless the Court otherwise determines.

       3.     A Producing Person may designate Discovery Material as

 “Confidential” that includes information: (i) that has not been made public and

 that the Producing Person would not want to be made public in the ordinary

 course of its activities, including, but not limited to, trade secret, proprietary,

 technical, business, financial, personal, or any other commercial information or

 other information of a nature that can be protected under Federal Rule of Civil

 Procedure 26(c); (ii) that reveals an individual’s personal identity information;

 (iii) that is prohibited from disclosure by statute; or (iv) that the Producing Person

 is under a preexisting obligation to a third-party to treat as confidential.

 Confidential Discovery Material includes all copies of such materials delivered to

 or maintained by the receiving Party, their counsel and experts, as well as all other

 materials or communications that reveal or incorporate such Confidential

 Discovery Material.

       4.     Confidential Discovery Material shall be designated by the

 Producing Person as such by marking every such page “CONFIDENTIAL.” For

 certain native file documents, a Producing Person may designate material as

 “Confidential” by cover letter describing such Confidential information and

 labeling such media accordingly.

       5.     Discovery Material, including Confidential Discovery Material, may
Case 1:22-cv-00704-HYJ-RSK      ECF No. 18-1, PageID.668       Filed 07/25/23      Page 5 of
                                         13



 be used solely for the prosecution, defense or settlement of this litigation and shall

 not be used by any other Party, other than the Party that produced it, in any other

 proceeding, for business, competitive, or publicity purposes, or for any other

 purpose whatsoever.

       6.     Confidential Discovery Material shall be made available to or

 communicated only to the following:

               a.     Parties, their insurers, counsel to their insurers, and
                      outside counsel and staff working under the express
                      direction of the Parties;

               b.     inside counsel for Defendant and its staff;

               c.     the Court overseeing this litigation, and its officers and
                      clerical staff;

               d.     experts and consultants (and their respective staff) that are
                      retained in connection with this litigation;

               e.     any person who is indicated on the face of a document to
                      have been an author, addressee or copy recipient thereof;

               f.     any deponent or witness during or in preparation for his or
                      her noticed deposition, hearing or trial testimony where
                      such Confidential Discovery Material is determined by
                      counsel in good faith to be necessary to the anticipated
                      subject matter of testimony, provided, however that such
                      Confidential Discovery Material can only be shared with
                      such person in connection with preparation for the
                      anticipated testimony;

               g.     outside photocopying, graphic production services, or
                      litigation support services;
Case 1:22-cv-00704-HYJ-RSK      ECF No. 18-1, PageID.669      Filed 07/25/23   Page 6 of
                                         13



               h.     court reporters, stenographers, or videographers who
                      record deposition or other testimony in the litigation; and

               i.     any other person or entity with respect to whom the
                      Producing Person may consent in writing.

         7.   Before any person or their representative identified in Paragraph 6(d)

 through 6(i) is given access to Confidential Discovery Material, he or she shall

 acknowledge in writing on the form provided as Exhibit A hereto that he or she

 read the Order and agrees to be bound by its terms. The Party providing access to

 the Confidential Discovery Material shall retain copies of the signed

 acknowledgement.

         8.   Consistent with the requirements of L.R. 10.6, any Party wishing to

 use Confidential Discovery Material in a filing must seek permission by the Court

 to file such material under seal. The Party must notify the Designating Party and

 any other Party with an interest in preserving the confidentiality of the

 Confidential Discovery Material, provide them with the opportunity to propose

 redactions to the Confidential Discovery Material, and include such proposed

 redactions in its motion to seal. Where possible, only those portions of filings

 with the Court that disclose Confidential Discovery Material shall be filed under

 seal.

         9.   Prior to using Confidential Discovery Material at trial or in open

 court, counsel for the Party seeking to use such material shall meet and confer
Case 1:22-cv-00704-HYJ-RSK       ECF No. 18-1, PageID.670       Filed 07/25/23       Page 7 of
                                          13



 with the Producing Person to discuss ways to redact or limit disclosure of the

 Confidential Discovery Material so that the material may be offered or otherwise

 used by any Party.

       10.    If counsel for a Party or Non-Party believes that deposition testimony

 constitutes Confidential Discovery Material, counsel shall so state on the record

 and request that the entire transcript or the relevant portion of testimony be sealed.

 Each page of the transcript containing information designated as Confidential

 shall include the legend “Confidential.” In addition, any Party or Non-Party may

 designate the transcript or videotape of a deposition as Confidential within seven

 (7) court days of its receipt of the final transcript by identifying to the court

 reporter the portion(s) of the transcript that constitute Confidential Discovery

 Material. Nothing in this paragraph shall affect the confidentiality designations of

 documents entered as exhibits for depositions.

       11.    To the extent that any Discovery Material (including, but not limited

 to, Confidential Discovery Material) includes information the disclosure of which

 could be deemed to be a violation of the Michigan Video Rental Privacy Act (the

 “PPPA”), M.C.L. § 445.1711, et seq., this Order shall serve as a “court order”

 within the meaning of Section 3(b) of the PPPA permitting such information to be

 disclosed.

       12.    This Order shall survive the final termination of the litigation for any
Case 1:22-cv-00704-HYJ-RSK      ECF No. 18-1, PageID.671      Filed 07/25/23     Page 8 of
                                         13



 retained Discovery Material. Within 60 days after dismissal or entry of final

 judgment not subject to further appeal, all Discovery Material other than material

 contained in pleadings, correspondence, work product, and deposition transcripts

 shall be returned to the Producing Party or destroyed. Copies of Discovery

 Material furnished to any expert or other third party shall likewise be returned or

 destroyed.

       13.    Any document, material, or information supplied by a third party

 may be designated by the third party or any Party as Confidential pursuant to this

 Order.

       14.    If a Party or its counsel inadvertently disclose Confidential

 Discovery Material to persons who are not authorized to use or possess the

 Confidential Discovery Material, that Party shall (i) provide prompt written notice

 of the disclosure to the Designating Party upon learning of its inadvertent

 disclosure; and (ii) seek the immediate return of the Confidential Discovery

 Material from the unauthorized party in possession of it.

       15.    Any Party objecting to a Confidential designation (“Objecting

 Party”) shall notify the Designating Party in writing of its objection. The

 Objecting Party must confer directly with counsel for the Designating Party,

 explain the basis for its challenge, and provide the Designating Party an

 opportunity to review the designated material and evaluate the Objecting Party’s
Case 1:22-cv-00704-HYJ-RSK       ECF No. 18-1, PageID.672      Filed 07/25/23    Page 9 of
                                          13



 challenge. The Designating Party must respond to the challenge within ten (10)

 days of the meet and confer.

       16.    If no resolution is reached, the Objecting Party may file and serve a

 motion that identifies the challenged material and sets forth in detail the basis for

 the challenge. All Parties shall continue to treat the challenged material as

 Confidential until the court decides the Objecting Party’s motion. The

 Designating Party may argue for limits on the use or manner of dissemination of

 Discovery Materials found to be no longer be Confidential.

       17.    Any person subject to this Order that is subject to a motion or other

 form of legal process or regulatory process seeking the disclosure of another

 Party’s or Non-Party’s Confidential Discovery Material: (i) shall promptly notify

 that Party or Non-Party; (ii) shall not provide such materials without the consent

 of that Party, unless required by law or regulation; (iii) shall cooperate with that

 Party to prevent the unauthorized production of documents.

       18.    A Producing Party does not waive the right to assert Confidential

 treatment over Discovery Material that it fails to designate as Confidential at the

 time of production. If such Discovery Material was filed with the court prior to

 the Confidential designation, the Party that failed to make the designation may

 move for appropriate relief. If an omitted Confidential designation is first

 claimed during the course of a deposition or hearing, the subject Discovery
Case 1:22-cv-00704-HYJ-RSK      ECF No. 18-1, PageID.673      Filed 07/25/23    Page 10
                                       of 13



Material shall be treated as Confidential.

      19.    Inadvertent production of Discovery Material subject to a claim of

privilege or of protection as trial preparation material does not amount to a waiver

of privilege or work-product immunity for such Discovery Material. If such

Discovery Material is produced, the Producing Person may notify any Receiving

Party that such Discovery Material is privileged and/or subject to work-product

immunity. The Receiving Party must promptly return or destroy such Discovery

Material (including all copies); must not use or disclose such Discovery Material

until the claim is resolved; and may promptly present the Discovery Material to

the court under seal for a determination of the claim.

      20.    The Parties agree that the Designating Party would not have an

adequate remedy at law and would be entitled to specific performance, and/or

injunctive relief, to prevent disclosure of personally identifiable information.

      21.    This Court will retain jurisdiction over all persons subject to this

Order to the extent necessary to enforce any obligations arising hereunder or to

impose sanctions for any contempt thereof.

Dated: _________________, 2023
Case 1:22-cv-00704-HYJ-RSK   ECF No. 18-1, PageID.674   Filed 07/25/23   Page 11
                                    of 13
      SO ORDERED.




                      UNITED STATES DISTRICT JUDGE



Agreed to:                              E. Powell Miller
                                        E. Powell Miller
                                        THE MILLER LAW FIRM, P.C.
                                        950 W. Drive, Suite 300
                                        Rochester, MI 48307
                                        Tel: (248) 841-2200
                                        epm@millerlawpc.com


                                        Joseph I. Marchese
                                        Philip L. Fraietta
                                        BURSOR & FISHER, P.A.
                                        888 Seventh Avenue
                                        New York, NY 10019
                                        Tel: (212) 989-9113
                                        Facsimile: (212) 989-9163
                                        jmarchese@bursor.com
                                        pfraietta@bursor.com

                                        Frank S. Hedin
                                        David W. Wall
                                        HEDIN HALL LLP
                                        1395 Brickell Avenue, Suite 1140
                                        Miami, FL 33131
                                        Tel: (305) 357-2107
                                        Facsimile: (305) 200-8801
                                        fhedin@hedinhall.com
                                        dhall@hedinhall.com

                                        Attorneys for Plaintiff
                                        and the Class
Case 1:22-cv-00704-HYJ-RSK         ECF No. 18-1, PageID.675   Filed 07/25/23   Page 12
                                          of 13



                              I.       EXHIBIT A

    DECLARATION OF ACKNOWLEDGEMENT AND AGREEMENT
    TO BE BOUND BY THE CONFIDENTIALITY AGREEMENT AND
              STIPULATED PROTECTIVE ORDER


      I, _______________________________ declare under penalty of perjury that:

      1.     My address is

_____________________________________________________

      2.     My present employer is

______________________________________________

      3.     My present occupation or job description is

__________________________________________________________________

______________________________________

      4.     I hereby certify and agree that I have read and understand the terms

of the Stipulated Protective Order relating to the litigation between Mark

Gottsleben and Informa Media, Inc. f/k/a Penton Media, Inc. I further certify that

I will not use “Confidential” information for any purpose other than this litigation,

and will not disclose or cause “Confidential” information to be disclosed to

anyone not expressly permitted by the Order to receive “Confidential,” as

applicable, information. I agree to be bound by the terms and conditions of the

Order.
Case 1:22-cv-00704-HYJ-RSK      ECF No. 18-1, PageID.676        Filed 07/25/23   Page 13
                                       of 13



      5.     I understand that I am to retain in confidence from all individuals not

expressly permitted to receive information designated as “Confidential,” whether

at home or at work, all copies of any materials I receive which have been

designated as “Confidential,” and that I will carefully maintain such materials in a

container, drawer, room or other safe place in a manner consistent with the Order.

I acknowledge that the return or destruction of “Confidential” material shall not

relieve me from any other continuing obligations imposed upon me by the Order.

      6.     I acknowledge and agree that I am aware that by receiving materials

designated “Confidential” (a) I may be receiving material non-public information

about companies and (b) there exists laws, including federal securities laws, that

may restrict or eliminate the sale or purchase of securities and debt of the such

companies as a result of the receipt of such information.

      7.     I stipulate to the jurisdiction of this Court solely with respect to the

provisions of the Order.


Date: _________________




                                                            (Signature)
